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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JULIE A SU, Secretary of Labor, United
States Department of Labor,

                Plaintiff,                          Civil Action No. 2:18-cv-1608

v.                                                  Hon. William S. Stickman IV

COMPREHENSIVE HEALTHCARE
MANAGEMENT SERVICES, LLC, et al,

                Defendants.


                                        HEARING MEMO

                                 HEARING HELD: Bench Trial
                              DATE TRIAL HELD: February 15, 2024
                              BEFORE: Judge William S. Stickman IV

Appearing for Plaintiff:                               Appearing for Defendants:
Alejandro Alfonso Herrera, Esquire                     Marla N. Presley, Esquire
Erik Unger, Esquire                                    Jeffrey Schwartz, Esquire
Mohamed Seifeldein, Esquire                            Kelly Mistick, Esquire

Trial began at: 9:43 a.m.                              Trial concluded at: 2:45 p.m.

Stenographer: Karen Earley

                                           WITNESSES:

Kris Hoke
Brenda Tissue
Cami Dziak
Janet Thomas
Richard Goff

                                              NOTES:

Evidence entered and trial concluded.

Parties are to meet and confer regarding the witness list and exhibit list and return any edits to
the Court on or before 02/21/24.

A post-trial briefing schedule will issue upon the filing of the transcripts.
